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                   EXHIBIT A
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Lois McNicoll



August 26, 2022

The Honorable Paul L. Friedman
U.S. District Court for the District of Columbia
E. Barrett Prettyman U.S. Courthouse
William B. Bryant Annex
Room 6012
333 Constitution Avenue, N.W.
Washington, D.C. 20001


Dear Judge Friedman:

My name is Lois McNicoll and I am 71 years old. I was employed with Los Angeles County
Department of Public Social services for over 35 years. I retired in August of 2021 and have
been living in San Clemente for over 3 years.

During my employment, I received many awards for contributions to the Department. These
include: development and implementation of a computer system that was adopted countywide,
created a user manual for the Medi-Cal Eligibility Data system that is still used countywide and
selected for testing and implementation of Obamacare. I was in Sacramento during the week for
two years to attend legislative, administrative, and technical meetings.

My father was an army ranger in World War II so I am the daughter of a veteran. He taught us
to be self-sufficient. I used these lessons when I was selling my house in Rancho Cucamonga to
move to San Clemente. I knew how much money I had to put down to afford monthly payments.

I went to Washington DC to hear President Trump speak and do some sightseeing. It was
important to me to see the Vietnam Wall because both my ex-husband and nephew fought over
there.

I regret entering the Capital on that day. I am very remorseful about this action. I would never
do this again. I have never been arrested before. I planned on spending my retirement by
traveling.

Sincerely,

/s/
Lois McNicoll
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                             EXHIBIT C

(Louis McNicoll’s Retirement Watch From County of Los Angeles)
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Table 1: Cases in which the government recommended a probation sentence without home detention 1

    Defendant         Case Number                Offense of Conviction             Government Recommendation               Sentence Imposed
    Name
    Morgan-Lloyd,     1:21-CR-00164-RCL          40 U.S.C. § 5104(e)(2)(G)         36 months’ probation                    36 months’ probation
    Anna                                                                           40 hours community service              120 hours community service
                                                                                   $500 restitution                        $500 restitution
    Ehrke, Valerie    1:21-CR-00097-PLF          40 U.S.C. § 5104(e)(2)(G)         36 months’ probation                    36 months’ probation
                                                                                   40 hours community service              120 hours community service
                                                                                   $500 restitution                        $500 restitution
    Bissey, Donna     1:21-CR-00165-TSC          40 U.S.C. § 5104(e)(2)(G)         36 months’ probation                    14 days’ incarceration
                                                                                   40 hours community service              60 hours community service
                                                                                   $500 restitution                        $500 restitution
    Hiles, Jacob      1:21-CR-00155-ABJ          40 U.S.C. § 5104(e)(2)(G)         36 months’ probation                    24 months’ probation
                                                                                   60 hours community service              60 hours community service
                                                                                   $500 restitution                        $500 restitution
    Wangler,          1:21-CR-00365-DLF          40 U.S.C. § 5104(e)(2)(G)         36 months’ probation                    24 months’ probation
    Douglas                                                                        40 hours community service              60 hours community service
                                                                                   $500 restitution                        $500 restitution
    Harrison, Bruce   1:21-CR-00365-DLF          40 U.S.C. § 5104(e)(2)(G)         48 months’ probation                    24 months’ probation
                                                                                   40 hours community service              60 hours of community service
                                                                                   $500 restitution                        $500 restitution




1
  Early in this investigation, the Government made a very limited number of plea offers in misdemeanor cases that included an agreement to recommend probation
in United States v. Anna Morgan-Lloyd, 1:21-cr-00164(RCL); United States v. Valerie Elaine Ehrke, 1:21-cr-00097(PFF); United States v. Donna Sue Bissey, 1:21-
cr-00165(TSC), United States v. Douglas K. Wangler, 1:21-cr-00365(DLF), and United States v. Bruce J. Harrison, 1:21-cr-00365(DLF). The government is
abiding by its agreements in those cases, but has made no such agreement in this case. Cf. United States v. Rosales-Gonzales, 801 F.3d 1177, 1183 (9th Cir. 2015)
(no unwarranted sentencing disparities under 18 U.S.C. § 3553(a)(6) between defendants who plead guilty under a “fast-track” program and those who do not given
the “benefits gained by the government when defendants plead guilty early in criminal proceedings”) (citation omitted).

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Table 2: Cases in which the government recommended a probation sentence with home detention

 Defendant         Case Number            Offense of Conviction           Government Recommendation    Sentence Imposed
 Name
 Bustle, Jessica   1:21-CR-00238-TFH      40 U.S.C. § 5104(e)(2)(G)       3 months’ home detention     2 months’ home detention
                                                                          36 months’ probation         24 months’ probation
                                                                          40 hours community service   40 hours community service
                                                                          $500 restitution             $500 restitution
 Bustle, Joshua    1:21-CR-00238-TFH      40 U.S.C. § 5104(e)(2)(G)       30 days’ home detention      30 days’ home detention
                                                                          36 months’ probation         24 months’ probation
                                                                          40 hours community service   40 hours community service
                                                                          $500 restitution             $500 restitution
 Doyle, Danielle   1:21-CR-00324-TNM 40 U.S.C. § 5104(e)(2)(G)            2 months’ home detention     2 months’ probation
                                                                          36 months’ probation         $3,000 fine
                                                                          60 hours community service   $500 restitution
                                                                          $500 restitution
 Bennett,          1:21-CR-00227-JEB      40 U.S.C. § 5104(e)(2)(G)       3 months’ home detention     3 months’ home detention
 Andrew                                                                   36 months’ probation         24 months’ probation
                                                                          60 hours community service   80 hours community service
                                                                          $500 restitution             $500 restitution
 Mazzocco,         1:21-CR-00054-TSC      40 U.S.C. § 5104(e)(2)(G)       3 months’ home detention     45 days’ incarceration
 Matthew                                                                  36 months’ probation         60 hours community service
                                                                          60 hours community service   $500 restitution
                                                                          $500 restitution
 Rosa, Eliel       1:21-CR-00068-TNM 40 U.S.C. § 5104(e)(2)(G)            30 days’ home detention      12 months’ probation
                                                                          36 months’ probation         100 hours community service
                                                                          60 hours community service   $500 restitution
                                                                          $500 restitution




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Gallagher,          1:21-CR-00041-CJN   40 U.S.C. § 5104(e)(2)(G)       30 days’ home detention      24 months’ probation
Thomas                                                                  36 months’ probation         60 hours community service
                                                                        Fine                         $500 restitution
                                                                        60 hours community service
                                                                        $500 restitution
Vinson, Thomas      1:21-CR-00355-      40 U.S.C. § 5104(e)(2)(G)       3 months’ home detention     5 years’ probation
                    RBW                                                 3 years’ probation           $5,000 fine
                                                                        60 hours community service   120 hours community service
                                                                        $500 restitution             $500 restitution
Dillon, Brittiany   1:21-CR-00360-DLF   40 U.S.C. § 5104(e)(2)(D)       3 months’ home detention     2 months’ home detention
                                                                        36 months’ probation         36 months’ probation
                                                                        60 hours community service   $500 restitution
                                                                        $500 restitution
Sanders,            1:21-CR-00384-CJN   40 U.S.C. § 5104(e)(2)(G)       2 months’ home detention     36 months’ probation
Jonathan                                                                36 months’ probation         60 hours community service
                                                                        60 hours community service   $500 restitution
                                                                        $500 restitution
Fitchett, Cindy     1:21-CR-00041-CJN   40 U.S.C. § 5104(e)(2)(G)       2 months’ home detention     30 days’ home detention
                                                                        36 months’ probation         36 months’ probation
                                                                        60 hours community service   60 hours community service
                                                                        $500 restitution             $500 restitution
Sweet, Douglas      1:21-CR-00041-CJN   40 U.S.C. § 5104(e)(2)(G)       3 months’ home detention     30 days’ home detention
                                                                        36 months’ probation         36 months’ probation
                                                                        60 hours community service   60 hours community service
                                                                        $500 restitution             $500 restitution
Cordon, Sean        1:21-CR-00269-TNM 40 U.S.C. § 5104(e)(2)(G)         3 months’ home detention     2 months’ probation
                                                                        36 months’ probation         $4000 fine
                                                                        60 hours community service   $500 restitution
                                                                        $500 restitution




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Wilkerson, John   1:21-CR-00302-CRC   40 U.S.C. § 5104(e)(2)(G)       2 months’ home detention     36 months’ probation
IV                                                                    36 months’ probation         $2500 fine
                                                                      60 hours community service   60 hours community service
                                                                      $500 restitution             $500 restitution
Jones, Caleb      1:21-CR-00321-JEB   40 U.S.C. § 5104(e)(2)(G)       3 months’ home detention     2 months’ home detention
                                                                      36 months’ probation         24 months’ probation
                                                                      60 hours community service   100 hours community service
                                                                      $500 restitution             $500 restitution
Brown, Terry      1:21-CR-00041-CJN   40 U.S.C. § 5104(e)(2)(G)       45 days’ home detention      30 days’ home detention
                                                                      36 months’ probation         36 months’ probation
                                                                      60 hours community service   60 hours community service
                                                                      $500 restitution             $500 restitution
Wrigley,          1:21-CR-00042-ABJ   40 U.S.C. § 5104(e)(2)(G)       2 months’ home detention     18 months’ probation
Andrew                                                                36 months’ probation         $2000 fine
                                                                      60 hours community service   60 hours community service
                                                                      $500 restitution             $500 restitution
Parks, Jennifer   1:21-CR-00363-CJN   40 U.S.C. § 5104(e)(2)(G)       30 days’ home detention      24 months’ probation
                                                                      36 months’ probation         60 hours community service
                                                                      60 hours community service   $500 restitution
                                                                      $500 restitution
Reimler,          1:21-CR-00239-      40 U.S.C. § 5104(e)(2)(G)       2 months’ home detention     30 days’ home detention
Nicholas          RDM                                                 36 months’ probation         36 months’ probation
                                                                      60 hours community service   60 hours community service
                                                                      $500 restitution             $500 restitution
Miller, Brandon   1:21-CR-00266-TSC   40 U.S.C. § 5104(e)(2)(G)       3 months’ home detention     20 days’ incarceration
                                                                      36 months’ probation         60 hours community service
                                                                      60 hours community service   $500 restitution
                                                                      $500 restitution
Miller,           1:21-CR-00266-TSC   40 U.S.C. § 5104(e)(2)(G)       2 months’ home detention     14 days’ incarceration
Stephanie                                                             36 months’ probation         60 hours community service
                                                                      60 hours community service   $500 restitution
                                                                      $500 restitution
Hatley, Andrew    1:21-CR-00098-TFH   40 U.S.C. § 5104(e)(2)(G)       2 months’ home detention     36 months’ probation
                                                                      36 months’ probation         $500 restitution
                                                                      60 hours community service
                                                                      $500 restitution

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Pert, Rachael     1:21-CR-00139-TNM 18 U.S.C. § 1752(a)(1)            3 months’ home detention     24 months’ probation
                                                                      24 months’ probation         100 hours community service
                                                                      40 hours community service   $500 restitution
                                                                      $500 restitution
Winn, Dana        1:21-CR-00139-TNM 18 U.S.C. § 1752(a)(1)            3 months’ home detention     10 days’ incarceration (weekends)
                                                                      24 months’ probation         12 months’ probation
                                                                      40 hours community service   100 hours community service
                                                                      $500 restitution             $500 restitution
Wickersham,       1:21-CR-00606-RCL   40 U.S.C. § 5104(e)(2)(G)       4 months’ home detention     3 months’ home detention
Gary                                                                  36 months’ probation         36 months’ probation
                                                                      60 hours community service   $2000 fine
                                                                      $500 restitution             $500 restitution
Schwemmer,        1:21-CR-00364-DLF   40 U.S.C. § 5104(e)(2)(G)       30 days’ home detention      24 months’ probation
Esther                                                                36 months’ probation         60 hours community service
                                                                      60 hours community service   $500 restitution
                                                                      $500 restitution
Kelly, Kenneth    1:21-CR-00331-CKK   40 U.S.C. § 5104(e)(2)(G)       2 months’ home detention     2 months’ home detention
                                                                      36 months’ probation         12 months’ probation
                                                                      60 hours community service   $500 restitution
                                                                      $500 restitution
Straka, Brandon   1:21-cr-00579-DLF   40 U.S.C. § 5104(e)(2)(D)       4 months’ home detention     3 months’ home detention
                                                                      36 months’ probation         36 months’ probation
                                                                      60 hours community service   $5000 fine
                                                                      $500 restitution             60 hours community service
                                                                                                   $500 restitution
Sizer, Julia      1:21-CR-00621-CRC   40 U.S.C. § 5104(e)(2)(G)       2 months’ home detention     12 months’ probation
                                                                      36 months’ probation         $2,000 fine
                                                                      60 hours community service   $500 restitution
                                                                      $500 restitution
Blauser,          1:21-CR-00386-TNM 40 U.S.C. § 5104(e)(2)(G)         3 months’ home detention     $500 fine
William                                                               36 months’ probation         $500 restitution
                                                                      60 hours community service
                                                                      $500 restitution




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Barnard,           1:21-CR-00235-RC    40 U.S.C. §                  30 days’ home detention       30 days’ home detention
Richard                                5104(e)(2)(G)                36 months’ probation          12 months’ probation
                                                                    60 hours community service    60 hours community service
                                                                    $500 restitution              $500 restitution
Witcher, Jeffrey   1:21-CR-00235-RC    18 U.S.C. § 1752(a)(1)       2 months’ home detention      12 months’ probation
                                                                    36 months’ probation          60 hours community service
                                                                    60 hours community service    $500 restitution
                                                                    $500 restitution
McAlanis,          1:21-CR-00516-DLF   40 U.S.C. §                  2 months’ home detention      24 months’ probation
Edward                                 5104(e)(2)(G)                36 months’ probation          60 hours community service
                                                                    60 hours community service    $500 restitution
                                                                    $500 restitution
Lollis, James      1:21-CR-00671-BAH   40 U.S.C. §                  3 months’ home detention      3 months’ home detention
                                       5104(e)(2)(G)                36 months’ probation          36 months’ probation
                                                                    100 hours community service   100 hours community service
                                                                    $500 restitution              $500 restitution
Schubert, Amy      1:21-CR-00588-ABJ   40 U.S.C. §                  3 months’ home detention      18 months’ probation
                                       5104(e)(2)(G)                36 months’ probation          $2000 fine
                                                                    60 hours community service    100 hours community service
                                                                    $500 restitution              $500 restitution
Schubert, John     1:21-CR-00587-ABJ   40 U.S.C. §                  2 months’ home detention      18 months’ probation
                                       5104(e)(2)(G)                36 months’ probation          $1500 fine
                                                                    60 hours community service    100 hours community service
                                                                    $500 restitution              $500 restitution
Orangias,          1:21-CR-00265-CKK   40 U.S.C. §                  3 months’ home detention      3 months’ home detention
Michael                                5104(e)(2)(G)                36 months’ probation          36 months’ probation
                                                                    $500 restitution              $500 restitution
Quick, Michael     1:21-CR-00201-DLF   40 U.S.C. §                  3 months’ home detention      36 months’ probation
                                       5104(e)(2)(G)                36 months’ probation          $1000 fine
                                                                    $500 restitution              60 hours community service
                                                                                                  $500 restitution
Quick, Stephen     1:21-CR-00201-DLF   40 U.S.C. §                  2 months’ home detention      24 months’ probation
                                       5104(e)(2)(G)                36 months’ probation          $1000 fine
                                                                    $500 restitution              60 hours community service
                                                                                                  $500 restitution


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 Reda, Kenneth     1:21-CR-00452-TFH       40 U.S.C. §                     2 months’ home detention        2 months’ home detention
                                           5104(e)(2)(G)                   36 months’ probation            36 months’ probation
                                                                           60 hours community service      60 hours community service
                                                                           $500 restitution                $500 restitution
 McCreary,         1:21-CR-00125-BAH       18 U.S.C. § 1752(a)(1)          3 months’ home detention        42 days’ intermittent incarceration
 Brian                                                                     36 months’ probation            (condition of probation)
                                                                           60 hours community service      2 months’ home detention
                                                                           $500 restitution                36 months’ probation
                                                                                                           $2,500 fine
                                                                                                           $500 restitution
 Colbath, Paul     1:21-CR-00650-RDM       40 U.S.C. §                     3 months’ home detention        30 day’s home detention
                                           5104(e)(2)(G)                   36 months’ probation            36 months’ probation
                                                                           60 hours community service      60 hours community service
                                                                           $500 restitution                $500 restitution
 Lewis, Jacob      1:21-CR-00100-CRC       40 U.S.C. §                     2 months’ home detention        24 months’ probation
                                           5104(e)(2)(G)                   36 months’ probation            $3000 fine
                                                                           60 hours community service      60 hours community service
                                                                           $500 restitution                $500 restitution
 Lentz, Nicholes   1:22-CR-00053-RDM       18 U.S.C. § 1752(a)(1)          2 months’ home detention        1 month home detention
                                                                           36 months’ probation            36 months’ probation
                                                                                                           100 hours community service
                                                                                                           $500 restitution
 Daughtry,         1:21-CR00141-RDM        18 U.S.C. § 1752(a)(1)          4 month’s home detention        60 days’ home detention
 Michael                                                                   36 months’ probation            36 months’ probation
                                                                           $500 restitution                $500 restitution


Table 3: Cases in which the government recommended a sentence of incarceration
 Defendant         Case Number             Offense of Conviction           Government Recommendation       Sentence Imposed
 Name
 Curzio, Michael   1:21-CR-00041-CJN       40 U.S.C. § 5104(e)(2)(G)       6 months’ incarceration (time   6 months’ incarceration (time
                                                                           served)                         served)
                                                                                                           $500 restitution
 Hodgkins, Paul    1:21-CR-00188-RDM       18 U.S.C. § 1512(c)(2)           18 months’ incarceration       8 months’ incarceration
                                                                                                           24 months’ supervised release
                                                                                                           $2000 restitution

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Dresch, Karl     1:21-CR-00071-ABJ   40 U.S.C. § 5104(e)(2)(G)       6 months’ incarceration (time   6 months’ incarceration (time
                                                                     served)                         served)
                                                                     $1000 fine                      $500 restitution
                                                                     $500 restitution
Jancart, Derek   1:21-CR-00148-JEB   40 U.S.C. § 5104(e)(2)(D)       4 months’ incarceration         45 days’ incarceration
                                                                     $500 restitution                $500 restitution
Rau, Erik        1:21-CR-00467-JEB   40 U.S.C. § 5104(e)(2)(D)       4 months’ incarceration         45 days’ incarceration
                                                                     $500 restitution                $500 restitution
Hemenway,        1:21-CR-00049-TSC   40 U.S.C. § 5104(e)(2)(G)       30 days’ incarceration          45 days’ incarceration
Edward                                                               $500 restitution                60 hours community service
                                                                                                     $500 restitution
Reeder, Robert   1:21-CR-00166-TFH   40 U.S.C. § 5104(e)(2)(G)       6 months’ incarceration         3 months’ incarceration
                                                                     $500 restitution                $500 restitution
Bauer, Robert    1:21-CR-00049-TSC   40 U.S.C. § 5104(e)(2)(G)       30 days’ incarceration          45 days’ incarceration
                                                                     $500 restitution                60 hours community service
                                                                                                     $500 restitution
Smocks, Troy     1:21-CR-00198-TSC   18 U.S.C. § 875(c)              Low end of sentencing           14 months’ incarceration
                                                                     guidelines                      36 months’ supervised release
                                                                     36 months’ supervised release
Vinson, Lori     1:21-CR-00355-RBW   40 U.S.C. § 5104(e)(2)(G)       30 days’ incarceration          60 months’ probation
                                                                     $500 restitution                $5,000 fine
                                                                                                     120 hours community service
                                                                                                     $500 restitution
Griffith, Jack   1:21-CR-00204-BAH   40 U.S.C. § 5104(e)(2)(G)       3 months’ incarceration         3 months’ home detention
                                                                     $500 restitution                36 months’ probation
                                                                                                     $500 restitution
Torrens, Eric    1:21-CR-00204-BAH   40 U.S.C. § 5104(e)(2)(G)       14 days’ incarceration          3 months’ home detention
                                                                     $500 restitution                36 months’ probation
                                                                                                     $500 restitution
Gruppo,          1:21-CR-00391-BAH   40 U.S.C. § 5104(e)(2)(G)       30 days’ incarceration          3 months’ home detention
Leonard                                                              $500 restitution                24 months’ probation
                                                                                                     $3,000 fine
                                                                                                     $500 restitution
Ryan, Jennifer   1:21-CR-00050-CRC   40 U.S.C. § 5104(e)(2)(G)       2 months’ incarceration         2 months’ incarceration
                                                                     $500 restitution                $1000 fine
                                                                                                     $500 restitution

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Croy, Glenn       1:21-CR-00162-BAH   40 U.S.C. § 5104(e)(2)(G)       2 months’ incarceration         14 days’ community correctional
                                                                      $500 restitution                facility
                                                                                                      3 months’ home detention
                                                                                                      36 months’ probation
                                                                                                      $500 restitution
Stotts, Jordan    1:21-CR-00272-TJK   40 U.S.C. § 5104(e)(2)(G)       45 days’ incarceration          2 months’ home detention
                                                                      $500 restitution                24 months’ probation
                                                                                                      60 hours community service
                                                                                                      $500 restitution
Fairlamb, Scott   1:21-CR-00120-RCL   18 U.S.C. § 1512(c)(2)          44 months’ incarceration        41 months’ incarceration
                                      18 U.S.C. § 111(a)(1)           36 months’ supervised release   36 months’ supervised release
                                                                      $2000 fine                      $2000 restitution
Camper, Boyd      1:21-CR-00325-CKK   40 U.S.C. § 5104(e)(2)(G)       2 months’ incarceration         2 months’ incarceration
                                                                      $500 restitution                60 hours community service
                                                                                                      $500 restitution
Rukstales,        1:21-CR-00041-CJN   40 U.S.C. § 5104(e)(2)(G)       45 days’ incarceration          30 days’ incarceration
Bradley                                                               $500 restitution                $500 restitution
Cordon, Kevin     1:21-CR-00277-TNM   18 U.S.C. § 1752(a)(1)          30 days’ incarceration          12 months’ probation
                                                                      12 months’ supervised release   $4000 fine
                                                                      $500 restitution                100 hours community service
                                                                                                      $500 restitution
Chansley, Jacob   1:21-CR-00003-RCL   18 U.S.C. § 1512(c)(2)          51 months’ incarceration        41 months’ incarceration
                                                                      36 months’ supervised release   36 months’ supervised release
                                                                      $2000 restitution               $2000 restitution
Mish, David       1:21-CR-00112-CJN   40 U.S.C. § 5104(e)(2)(G)       30 days’ incarceration          30 days’ incarceration
                                                                      $500 restitution                $500 restitution
Lolos, John       1:21-CR-00243-APM   40 U.S.C. § 5104(e)(2)(G)       30 days’ incarceration          14 days’ incarceration
                                                                      $500 restitution                $500 restitution
Scavo, Frank      1:21-CR-00254-RCL   40 U.S.C. § 5104(e)(2)(G)       14 days’ incarceration          2 months’ incarceration
                                                                      $500 restitution                $5000 fine
                                                                                                      $500 restitution
Abual-Ragheb,     1:21-CR-00043-CJN   40 U.S.C. § 5104(e)(2)(G)       30 days’ incarceration          2 months’ home detention
Rasha                                                                 $500 restitution                36 months’ probation
                                                                                                      60 hours community service
                                                                                                      $500 restitution


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Peterson,          1:21-CR-00309-ABJ   40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          30 days’ incarceration
Russell                                                              $500 restitution                $500 restitution
Simon, Mark        1:21-CR-00067-ABJ   40 U.S.C. § 5104(e)(2)(G)     45 days’ incarceration          35 days’ incarceration
                                                                     $500 restitution                $500 restitution
Ericson,           1:21-CR-00506-TNM   40 U.S.C. § 5104(e)(2)(G)     2 months’ incarceration         20 days’ incarceration (consecutive
Andrew                                                               $500 restitution                weekends)
                                                                                                     24 months’ probation
                                                                                                     $500 restitution
Pham, Tam          1:21-CR-00109-TJK   40 U.S.C. § 5104(e)(2)(G)     2 months’ incarceration         45 days’ incarceration
Dinh                                                                 $500 restitution                $1000 fine
                                                                                                     $500 restitution
Nelson,            1:21-CR-00344-JDB   40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          24 months’ probation
Brandon                                                              $500 restitution                $2500 fine
                                                                                                     50 hours community service
                                                                                                     $500 restitution
Markofski,         1:21-CR-00344-JDB   40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          24 months’ probation
Abram                                                                $500 restitution                $1000 fine
                                                                                                     50 hours community service
                                                                                                     $500 restitution
Marquez, Felipe    1:21-CR-00136-RC    18 U.S.C. § 1752(a)(2)        4 months’ incarceration         3 month’s home detention
                                                                     12 months’ supervised release   18 months’ probation
                                                                     $500 restitution                $500 restitution
Meredith,          1:21-CR-00159-ABJ   18 U.S.C. § 875(c)            Midrange of 37-46 months’       28 months’ incarceration
Cleveland                                                            incarceration                   36 months’ supervised release
                                                                     36 months’ supervised release
Sorvisto, Jeremy   1:21-CR-00320-ABJ   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          30 days’ incarceration
                                                                     $500 restitution                $500 restitution
Mariotto,          1:21-CR-00094-RBW   40 U.S.C. § 5104(e)(2)(G)     4 months’ incarceration         36 months’ probation
Anthony                                                              36 months’ probation            $5000 fine
                                                                     $500 restitution                250 hours community service
                                                                                                     $500 restitution




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Courtright,      1:21-CR-00072-CRC   18 U.S.C. § 1752(a)(1)        6 months’ incarceration         30 days’ incarceration
Gracyn                                                             12 months’ supervised release   12 months’ supervised release
                                                                   60 hours community service      60 hours community service
                                                                   $500 restitution                $500 restitution
Palmer, Robert   1:21-CR-00328-TSC   18 U.S.C. § 111(a) and (b)    63 months’ incarceration        63 months’ incarceration
                                                                   36 months’ supervised release   36 months’ supervised release
                                                                   $2000 restitution               $2000 restitution
Thompson,        1:21-CR-00461-RCL   18 U.S.C. § 111(a) and (b)    48 months’ incarceration        46 months’ incarceration
Devlyn                                                             36 months’ supervised release   36 months’ supervised release
                                                                   $2000 restitution               $2000 restitution
Edwards, Gary    1:21-CR-00366-JEB   40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          12 months’ probation
                                                                   24 months’ probation            $2500 fine
                                                                   $500 restitution                200 hours of community service
                                                                                                   $500 restitution
Tutrow, Israel   1:21-CR-00310-ABJ   40 U.S.C. § 5104(e)(2)(G)     2 months’ incarceration         2 months’ home detention
                                                                   $500 restitution                36 months’ probation
                                                                                                   $500 restitution
Ridge IV,        1:21-CR-00406-JEB   18 U.S.C. § 1752(a)(1)        45 days’ incarceration          14 days’ consecutive incarceration
Leonard                                                            12 months’ supervised release   12 months’ supervised release
                                                                   60 hours community service      $1000 fine
                                                                   $500 restitution                100 hours community service
                                                                                                   $500 restitution
Perretta,        1:21-CR-00539-TSC   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          30 days’ incarceration
Nicholas                                                           $500 restitution                $500 restitution
Vukich,          1:21-CR-00539-TSC   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          30 days’ incarceration
Mitchell                                                           $500 restitution                $500 restitution
Spencer,         1:21-CR-00147-CKK   40 U.S.C. § 5104(e)(2)(G)     3 months’ incarceration         3 months’ incarceration
Virginia                                                           36 months’ probation            $500 restitution
                                                                   $500 restitution
Kostolsky,       1:21-CR-00197-DLF   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          30 days’ home detention
Jackson                                                            $500 restitution                36 months’ probation
                                                                                                   $500 restitution




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Rusyn, Michael    1:21-CR-00303-ABJ   40 U.S.C. § 5104(e)(2)(G)     45 days’ incarceration          2 months’ home detention
                                                                    $500 restitution                24 months’ probation
                                                                                                    $2000 fine
                                                                                                    $500 restitution
Tryon, William    1:21-CR-00420-RBW   18 U.S.C. § 1752(a)(1)        30 days’ incarceration          50 days’ incarceration
                                                                    12 months’ supervised release   12 months’ supervised release
                                                                    $500 restitution                $1000 fine
                                                                                                    $500 restitution
Sells, Tanner     1:21-CR-00549-ABJ   40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          3 months’ home detention
                                                                    36 months’ probation            24 months’ probation
                                                                    60 hours community service      $1500 fine
                                                                    $500 restitution                50 hours community service
                                                                                                    $500 restitution
Walden, Jon       1:21-CR-00548-DLF   40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          30 days’ home detention
                                                                    60 hours community service      36 months’ probation
                                                                    $500 restitution                60 hours community service
                                                                                                    $500 restitution
Prado, Nicole     1:21-CR-00403-RC    40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          2 months’ 12-hour curfew
                                                                    36 months’ probation            12 months’ probation
                                                                    60 hours community service      $742 fine
                                                                    $500 restitution                60 hours community service
                                                                                                    $500 restitution
Williams, Vic     1:21-CR-00388-RC    40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          2 months’ home detention
                                                                    36 months’ probation            12 months’ probation
                                                                    60 hours community service      $1500 fine
                                                                    $500 restitution                60 hours community service
                                                                                                    $500 restitution
Wiedrich, Jacob   1:21-CR-00581-TFH   40 U.S.C. § 5104(e)(2)(G)     3 months’ incarceration         3 months’ home detention
                                                                    36 months’ probation            36 months’ probation
                                                                    $500 restitution                100 hours community service
                                                                                                    $500 restitution
Stepakoff,        1:21-CR-00096-RC    40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          2 months’ home detention
Michael                                                             36 months’ probation            12 months’ probation
                                                                    60 hours community service      $742 fine
                                                                    $500 restitution                60 hours community service
                                                                                                    $500 restitution

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Scirica,          1:21-CR-00457-CRC   40 U.S.C. § 5104(e)(2)(G)      15 days’ incarceration          15 days’ incarceration
Anthony                                                              $500 restitution                $500 fine
                                                                                                     $500 restitution
Crase, Dalton     1:21-CR-00082-CJN   40 U.S.C. § 5104(e)(2)(G)      30 days’ incarceration          15 days’ intermittent incarceration
                                                                     36 months’ probation            (condition of probation)
                                                                     60 hours community service      36 months’ probation
                                                                     $500 restitution                60 hours community service
                                                                                                     $500 restitution
Williams, Troy    1:21-CR-00082-CJN   40 U.S.C. § 5104(e)(2)(G)      30 days’ incarceration          15 days’ intermittent incarceration
                                                                     36 months’ probation            (condition of probation)
                                                                     60 hours community service      36 months’ probation
                                                                     $500 restitution                60 hours community service
                                                                                                     $500 restitution
Languerand,       1:21-CR-00353-JDB   18 U.S.C. § 111 (a) and        51 months’ incarceration        44 months’ incarceration
Nicholas                              (b)                            36 months’ supervised release   24 months’ supervised release
                                                                     $2000 restitution               60 hours community service
                                                                                                     $2000 restitution
Wilson, Zachary   1:21-CR-00578-APM   40 U.S.C. § 5104(e)(2)(G)      14 days’ incarceration          45 days’ home detention
                                                                     36 months’ probation            24 months’ probation
                                                                     $500 restitution                60 hours community service
                                                                                                     $500 restitution
Wilson, Kelsey    1:21-CR-00578-APM   40 U.S.C. § 5104(e)(2)(G)      14 days’ incarceration          30 days’ home detention
                                                                     36 months’ probation            24 months’ probation
                                                                     $500 restitution                60 hours community service
                                                                                                     $500 restitution
McAuliffe,        1:21-CR-00608-RCL   40 U.S.C. § 5104(e)(2)(G)      14 days’ incarceration          2 months’ home detention
Justin                                                               36 months’ probation            36 months’ probation
                                                                     $500 restitution                $500 restitution
Williams,         1:21-CR-00045-DLF   40 U.S.C. § 5104(e)(2)(G)      30 days’ incarceration          24 months’ probation
Andrew                                                               24 months’ probation            60 hours community service
                                                                     60 hours community service      $500 restitution
                                                                     $500 restitution
Leffingwell,      1:21-CR-00005-ABJ   18 U.S.C. § 111(a)(1)          27 months’ incarceration        6 months’ incarceration
Mark                                                                 36 months’ supervised release   24 months’ supervised release
                                                                     $2000 restitution               200 hours community service
                                                                                                     $2,000 restitution

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Wagner, Joshua      1:21-CR-00310-ABJ   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          30 days’ incarceration
                                                                      36 months’ probation            $500 restitution
                                                                      $500 restitution
Stenz, Brian        1:21-CR-00456-BAH   40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          14 days’ incarceration as a condition
                                                                      36 months’ probation            of probation
                                                                      60 hours community service      2 months’ home detention
                                                                      $500 restitution                36 months’ probation
                                                                                                      $2500 fine
                                                                                                      $500 restitution
Schornak,           1:21-CR-00278-BAH   18 U.S.C. § 1752(a)(1)        4-6 months’ incarceration       28 days’ intermittent incarceration (2
Robert                                                                12 months’ supervised release   14-day intervals)
                                                                      60 hours community service      2 months’ home detention
                                                                      $500 restitution                36 months’ probation
                                                                                                      $500 restitution
Castro,             1:21-CR-00299-RBW   40 U.S.C. § 5104(e)(2)(G)     2 months’ incarceration         45 days’ incarceration
Mariposa                                                              $500 restitution                $5000 fine
Sunstrum, Traci     1:21-CR-00652-CRC   40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          30 days’ home detention
                                                                      36 months’ probation            36 months’ probation
                                                                      $500 restitution                $500 restitution
Register, Jeffrey   1:21-CR-00349-TJK   40 U.S.C. § 5104(e)(2)(G)     5 months’ incarceration         75 days’ incarceration
                                                                      $500 restitution                $500 restitution
Johnson, Adam       1:21-CR-00648-RBW   18 U.S.C. § 1752(a)(1)        90 days’ incarceration          75 days’ incarceration
                                                                      12 month’s supervised release   12 months’ supervised release
                                                                      $5000 fine                      $5000 fine
                                                                                                      200 hours community service
                                                                                                      $500 restitution
Howell, Annie       1:21-CR-00217-TFH   18 U.S.C. § 1752(a)(1)        60 days’ incarceration          60 days’ intermittent incarceration,
                                                                      12 month’s supervised release   to be served in 10-day installments,
                                                                      $500 restitution                as a condition of probation
                                                                                                      36 months’ probation
                                                                                                      60 hours community service
                                                                                                      $500 restitution
Gonzalez,           1:21-CR-00115-CRC   40 U.S.C. § 5104(e)(2)(G)     3 months’ incarceration         24 months’ probation
Eduardo                                                               $500 restitution                $1000 fine
                                                                                                      $500 restitution
Wilson, Duke        1:21-CR-00345-RCL   18 U.S.C. § 1512(c)(2)        46 months’ incarceration        51 months’ incarceration

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                                      18 U.S.C. § 111(a)(1)         $2000 + TBD restitution for   36 months’ supervised release
                                                                    injured officer               TBD restitution
Strong, Kevin     1:21-CR-00114-TJK   40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration        30 days’ home detention
                                                                    36 months’ probation          24 months’ probation
                                                                    $500 restitution              60 hours community service
                                                                                                  $500 restitution
Bonet, James      1:21-CR-00121-EGS   18 U.S.C. § 1752(a)(1)        45 days’ incarceration        3 months’ incarceration
                                                                    12 months’ probation          12 months’ probation
                                                                    $500 restitution              200 hours community service
                                                                                                  $500 restitution
Nalley, Verden    1:21-CR-00016-DLF   18 U.S.C. § 1752(a)(1)        14 days’ incarceration        24 months’ probation
                                                                    12 months’ probation          60 hours community service
                                                                    60 hours community service    $500 restitution
                                                                    $500 restitution
Carico, Michael   1:21-CR-00696-TJK   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration        2 months’ home detention
                                                                    36 months’ probation          24 months’ probation
                                                                    $500 restitution              $500 fine
                                                                                                  60 hours community service
                                                                                                  $500 restitution
Little, James     1:21-CR-00315-RCL   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration        60 days’ incarceration
                                                                    36 months’ probation          36 months’ probation
                                                                    $500 restitution              $500 restitution
Loftus, Kevin     1:21-CR-00081-DLF   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration        36 months’ probation
                                                                    36 months’ probation          60 hours community service
                                                                                                  $500 restitution
Smith, Jeffrey    1:21-CR-00290-RBW   40 U.S.C. § 5104(e)(2)(G)     5 months’ incarceration       90 days’ incarceration
                                                                    $500 restitution              24 months’ probation
                                                                                                  200 hours community service
                                                                                                  $500 restitution
Kelley, Kari      1:21-CR-00201-DLF   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration        36 months’ probation
                                                                    36 months’ probation          $500 restitution
                                                                    $500 restitution
Martin, Zachary   1:21-CR-00201-DLF   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration        36 months’ probation
                                                                    36 months’ probation          $1000 fine
                                                                    $500 restitution              60 hours community service
                                                                                                  $500 restitution

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Cudd, Jenny        1:21-CR-00068-TNM   18 U.S.C. § 1752(a)(1)        75 days’ incarceration          2 months’ probation
                                                                     12 months’ supervised release   $5000 fine
                                                                     $500 restitution                $500 restitution
Jackson,           1:21-CR-00484-RDM   40 U.S.C. § 5104(e)(2)(G)     2 months’ incarceration         36 months’ probation with 90 days
Micajah                                                              36 months’ supervised release   in residential half-way house
                                                                     $500 restitution                $1,000 fine
                                                                                                     $500 restitution
Petrosh, Robert    1:21-CR-00347-TNM   18 U.S.C. § 641               4 months’ incarceration         10 days’ incarceration
                                                                     12 months’ supervised release   12 months’ supervised release
                                                                     60 hours community service      $1,000 fine
                                                                     $938 restitution                $938 restitution
Ivey, Bryan        1:21-CR-00267-CRC   40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          60 days’ home detention
                                                                     36 months’ probation            36 months’ probation
                                                                     $500 restitution                $500 restitution
                                                                     60 hours community service      60 hours community service

Burress, Gabriel   1:21-CR-00744-TJK   40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          45 days’ home confinement
                                                                     36 months’ probation            18 months’ probation
                                                                     $500 restitution                $500 restitution
                                                                     60 hours community service      60 hours community service

Pettit, Madison    1:21-CR-00744-TJK   40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          45 days’ home confinement
                                                                     36 months’ probation            18 months’ probation
                                                                     $500 restitution                $500 restitution
                                                                     60 hours community service      60 hours community service

Coffman,           1:21-CR-00004-CKK   26 U.S.C. § 5861(d)           Middle of SGR                   46 months’ incarceration
Lonnie                                 22 D.C. Code § 4504(a)        36 months’ probation            36 months’ supervised release
Fee, Thomas        1:21-CR-00133-JDB   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          24 months’ probation
                                                                     36 months’ probation            $500 fine
                                                                     $500 restitution                $500 restitution
                                                                     60 hours community service      50 hours community service
Herendeen,         1:21-CR-00278-BAH   18 U.S.C. § 1752(a)(1)        28 days’ incarceration          14 days’ incarceration
Daniel                                                               36 months’ probation            2 months’ home detention
                                                                     $500 restitution                36 months’ probation
                                                                     60 hours community service      $500 restitution

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Zlab, Joseph      1:21-CR-00389-RBW   40 U.S.C. § 5104(e)(2)(G)     45 days’ incarceration          36 months’ probation
                                                                    36 months’ probation            $500 fine
                                                                    $500 restitution                $500 restitution
                                                                    60 hours community service      200 hours community service
Riddle, Jason     1:21-CR-00304-DLF   18 U.S.C. § 641               90 days’ incarceration          90 days incarceration for the § 641
                                      40 U.S.C. § 5104(e)(2)(G)     12 months’ supervised release   offense
                                                                    $754 restitution                36 months’ probation for the
                                                                                                    § 5104(e)(2)(G) offense
                                                                                                    $754 restitution
                                                                                                    60 days community service
Fox, Samuel       1:21-CR-00435-BAH   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          2 months’ home detention
                                                                    36 months’ probation            36 months’ probation
                                                                    $500 restitution                $2,500 fine
                                                                                                    $500 restitution
O’Brien, Kelly    1:21-CR-00633-RCL   18 U.S.C. § 1752(a)(1)        5 months’ incarceration         90 days’ incarceration
                                                                    12 months’ supervised release   12 months’ supervised release
                                                                    $500 restitution                $1,000 fine
                                                                                                    $500 restitution
Hardin, Michael   1:21-CR-00280-TJK   40 U.S.C. § 5104(e)(2)(G)     45 days’ incarceration          30 day’s home confinement
                                                                    36 months’ probation            18 months’ probation
                                                                    $500 restitution                $500 restitution
                                                                    60 hours community service      60 hours community service
Hernandez,        1:21-CR-00747-JEB   18 U.S.C. § 1752(a)(1)        45 days’ incarceration          30 days’ incarceration
Emily                                                               12 months’ supervised release   12 months’ supervised release
                                                                    $500 restitution                $500 restitution
                                                                    60 hours community service      80 hours community service
Merry, William    1:21-CR-00748-JEB   18 U.S.C. § 641               4 months’ incarceration         45 days’ incarceration
                                                                    12 months’ supervised release   9 months’ supervised release
                                                                    $500 restitution                80 hours community service
                                                                    60 hours community service
Westover, Paul    1:21-CR-00697-JEB   40 U.S.C. § 5104(e)(2)(G)     3 months’ incarceration         45 days’ incarceration
                                                                    $500 restitution                $500 restitution
O’Malley,         1:21-CR-00704-CRC   40 U.S.C. § 5104(e)(2)(G)     45 days’ incarceration          24 months’ probation
Timothy                                                             36 months’ probation            20 hours community service
                                                                    60 hours community service      $500 restitution
                                                                    $500 restitution

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Reed, Blake        1:21-CR-00204-BAH   18 U.S.C. § 1752(a)(1)        3 months’ incarceration         42 days’ intermittent confinement
                                                                     12 months’ supervised release   3 months’ home detention
                                                                     $500 restitution                36 months’ probation
                                                                                                     $2500 fine
                                                                                                     $500 restitution
Rebegila, Mark     1:21-CR-00283-APM   40 U.S.C. § 5104(e)(2)(G)     2 months’ incarceration         30 days’ home detention
                                                                     36 months’ probation            24 months’ probation
                                                                     $500 restitution                $2000 fine
                                                                                                     60 hours community service
                                                                                                     $500 restitution
Watrous,           1:21-CR-00627-BAH   40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          14 days’ intermittent confinement
Richard                                                              36 months’ probation            2 months’ home detention
                                                                     60 hours community service      36 months’ probation
                                                                     $500 restitution                $2500 fine
                                                                                                     $500 restitution
Meteer, Clifford   1:21-CR-00630-CJN   40 U.S.C. § 5104(e)(2)(G)     75 days’ incarceration          60 days’ incarceration
                                                                     36 months’ probation            36 months’ probation
                                                                     60 hours community service      60 hours community service
                                                                     $500 restitution                $500 restitution
Conover,           1:21-CR-00743-FYP   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          30 days’ residential reentry center
Thomas                                                               36 months’ probation            36 months’ probation
                                                                     60 hours community service      $2500 fine
                                                                     $500 restitution                60 hours community service
                                                                                                     $500 restitution
Lavin, Jean        1:21-CR-00596-BAH   40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          10 days’ intermittent confinement (5
                                                                     36 months’ probation            weekends)
                                                                     $500 restitution                2 months’ home detention
                                                                                                     36 months’ probation
                                                                                                     $2500 fine
                                                                                                     $500 restitution
Krzywicki,         1:21-CR-00596-BAH   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          36 months’ probation
Carla                                                                36 months’ probation            3 months’ home detention
                                                                     $500 restitution                $500 restitution
Kulas, Christian   1:21-CR-00397-TFH   40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          6 months’ probation
                                                                     36 months’ probation            2 months’ home detention
                                                                     60 hours community service      $500 restitution

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                                                                  $500 restitution
Kulas, Mark      1:21-CR-00693-TFH   40 U.S.C. § 5104(e)(2)(G)    14 days’ incarceration          6 months’ probation
                                                                  36 months’ probation            2 months’ home detention
                                                                  60 hours community service      $500 restitution
                                                                  $500 restitution
Von Bernewitz,   1:21-CR-00307-CRC   40 U.S.C. § 5104(e)(2)(G)    14 days’ incarceration          60 days home detention
Eric                                                              36 months’ probation            24 months’ probation
                                                                  60 hours community service      $1000 fine
                                                                  $500 restitution                $500 restitution
Von Bernewitz,   1:21-CR-00307-CRC   40 U.S.C. § 5104(e)(2)(G)    45 days’ incarceration          30 days’ incarceration
Paul                                                              36 months’ probation            $500 restitution
                                                                  60 hours community service
                                                                  $500 restitution
Ballesteros,     1:21-CR-00580-DLF   40 U.S.C. § 5104(e)(2)(G)    14 days’ incarceration          36 months’ probation
Robert                                                            24 months’ probation            40 hours community service
                                                                  60 hours community service      $500 restitution
                                                                  $500 restitution
Sarko, Oliver    1:21-CR-00591-CKK   40 U.S.C. § 5104(e)(2)(G)    30 days’ incarceration          30 days’ incarceration
                                                                  36 months’ probation            36 months’ probation
                                                                  60 hours community service      $500 restitution
                                                                  $500 restitution
Vuksanaj,        1:21-CR-00620-BAH   40 U.S.C. § 5104(e)(2)(G)    3 months’ incarceration         42 days’ intermittent confinement (3,
Anthony                                                           36 months’ probation            14-day periods)
                                                                  60 hours community service      3 months’ home detention
                                                                  $500 restitution                36 months’ probation
                                                                                                  $2000 fine
                                                                                                  $500 restitution
Creek, Kevin     1:21-CR-00645-DLF   18 U.S.C. § 111(a)(1)        27 months’ incarceration        27 months’ incarceration
                                                                  36 months’ supervised release   12 months’ supervised release
                                                                  $2000 restitution               $2000 restitution
Peart, Willard   1:21-CR-00662-PLF   40 U.S.C. § 5104(e)(2)(G)    30 days’ incarceration          2 months’ home detention
                                                                  36 months’ probation            36 months’ probation
                                                                  60 hours community service      240 hours community service
                                                                  $500 restitution                $500 fine
                                                                                                  $500 restitution


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Webler,          1:21-CR-00741-DLF   40 U.S.C. § 5104(e)(2)(G)     3 months’ incarceration         45 days’ incarceration
Matthew                                                            $500 restitution                $500 restitution
Mostofsky,       1:21-CR-00138-JEB   18 U.S.C. § 641               15 months’ incarceration        8 months’ incarceration
Aaron                                18 U.S.C. § 231               36 months’ supervised release   12 months’ supervised release on
                                     (a)(3)                        $2000 restitution               each count to run concurrently
                                     18 U.S.C. § 1752(a)(1)                                        200 hours community service
                                                                                                   $2000 restitution
Entrekin,        1:21-CR-00686-FYP   40 U.S.C. § 5104(e)(2)(G)     105 days incarceration          45 days’ incarceration
Nathan                                                             36 months’ probation            36 months’ probation
                                                                   60 hours community service      60 hours community service
                                                                   $500 restitution                $500 restitution
Kidd, Nolan      1:21-CR-00429-CRC   40 U.S.C. § 5104(e)(2)(G)     90 days incarceration           45 days’ incarceration
                                                                   36 months’ probation            $500 restitution
                                                                   60 hours community service
                                                                   $500 restitution
Baker, Stephen   1:21-CR-00273-TFH   40 U.S.C. § 5104(e)(2)(G)     30 days incarceration           9 days’ intermittent confinement
                                                                   $500 restitution                24 months’ probation
                                                                                                   $500 restitution
McDonald,        1:21-CR-00429-CRC   40 U.S.C. § 5104(e)(2)(G)     3 months’ incarceration         21 days’ incarceration
Savannah                                                           36 months’ probation            $500 restitution
                                                                   60 hours community service
                                                                   $500 restitution
Honeycutt,       1:22-CR-00050-CJN   40 U.S.C. § 5104(e)(2)(G)     3 months’ incarceration         3 months’ incarceration
Adam                                                               36 months’ probation            $500 restitution
                                                                   60 hours community service
                                                                   $500 restitution
Spain, Jr.,      1:21-CR-00651-DLF   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          36 months’ probation
Edward                                                             36 months’ probation            60 hours community service
                                                                   60 hours community service      $500 restitution
                                                                   $500 restitution
Kramer, Philip   1:21-CR-00413-EGS   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          30 days’ incarceration
                                                                   36 months’ probation            $2500 fine
                                                                   60 hours community service      100 hours community service
                                                                   $500 restitution                $500 restitution
Ehmke, Hunter    1:21-CR-00029-TSC   18 U.S.C. § 1361              4 months’ incarceration         4 months’ incarceration
                                                                   36 months’ supervised release   36 months’ supervised release

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                                                                    $2,181 restitution              $2,181 restitution
Chapman,          1:21-CR-00676-RC    40 U.S.C. § 5104(e)(2)(G)     45 days incarceration           3 month’s home detention
Robert                                                              36 months’                      18 month’s probation
                                                                                                    $742 fine
                                                                                                    60 hours community service
                                                                                                    $500 restitution
Timbrook,         1:21-CR-00361-TNM   40 U.S.C. § 5104(e)(2)(G)     90 days’ incarceration          14 days’ intermittent incarceration to
Michael                                                             36 months’ probation            be served on 7 consecutive
                                                                                                    weekends, as a condition of
                                                                                                    12 months’ probation
                                                                                                    $500 restitution
Miller, Matthew   1:21-CR-00075-RDM   18 U.S.C. § 1512(c)(2)        51 months’ incarceration        33 months’ incarceration
                                      18 U.S.C. § 111(a)(1)         36 month’s supervised release   24 months’ probation
                                                                                                    $2000 restitution
                                                                                                    100 hours community service
Hemphill,         1:21-CR-00555-RCL   40 U.S.C. § 5104(e)(2)(G)     2 months’ incarceration         2 months’ incarceration
Pamela                                                              36 month’s probation            36 month’s probation
                                                                                                    $500 restitution
Rubenacker,       1:21-CR-00193-BAH   18 U.S.C. § 231(a)(3)         46 months’ incarceration        41 months’ incarceration
Greg                                  18 U.S.C. § 1512(c)(2)        36 months’ supervised release   36 months’ supervised release
                                      18 U.S.C. § 111(a)                                            $2000 restitution
                                      18 U.S.C. § 1752(a)(1)
                                      18 U.S.C. § 1752(a)(2)
                                      18 U.S.C. § 1752(a)(4)
                                      40 U.S.C. § 5104(e)(2)(D)
                                      40 U.S.C. § 5104(e)(2)(E)
                                      40 U.S.C. § 5104(e)(2)(F)
                                      40 U.S.C. § 5104(e)(2)(G)
Johnson, Daniel   1:21-CR-00407-DLF   18 U.S.C. § 231(a)(3)         6 months’ incarceration         4 months’ incarceration
                                                                    12 months’ supervised release   12 months’ supervised release
                                                                                                    $2000 restitution
Johnson, Daryl    1:21-CR-00407-DLF   18 U.S.C. § 231(a)(3)         90 days’ incarceration          30 days’ incarceration
                                                                    12 months’ supervised release   12 months’ supervised release
                                                                                                    $2000 fine
                                                                                                    $2000 restitution
Buhler, Janet     1:21-CR-00510-CKK   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          30 days’ incarceration

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                                                                    36 months’ supervised release   36 months’ supervised release
                                                                                                    $500 restitution
Tagaris, Jody     1:21-CR-00368-JDB   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          24 months’ probation
                                                                    36 months’ probation            $2000 fine
                                                                    $500 restitution                $500 restitution
                                                                                                    60 hours community service
Heinl, Jennifer   1:21-CR-00370-EGS   40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          14 days’ incarceration
                                                                    36 months’ probation            24 months’ probation
                                                                    $500 restitution                $500 restitution
Sywak, William    1:21-CR-00494-RC    40 U.S.C. § 5104(e)(2)(G)     45 days’ incarceration          2 months’ home detention
Jason                                                               36 months’ probation            12 months’ probation
                                                                    60 hours community service      60 hours community service
                                                                    $500 restitution                $500 restitution
Sywak, William    1:21-CR-00494-RC    40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          4 month’s home detention
Michael                                                             36 months’ probation            24 months’ probation
                                                                    $500 restitution                60 hours community service
                                                                                                    $500 restitution
Laurens,          1:21-CR-00450-RC    40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          60 days’ home detention
Jonathan                                                            36 months’ probation            12 months’ probation
                                                                    $500 restitution                $742 fine
                                                                                                    $500 restitution
                                                                                                    60 hours community service
Cooke, Nolan      1:22-CR-00052-RCL   18 U.S.C. § 231(a)(3)         11 months’ incarceration        366 days’ incarceration
                                                                    36 months’ supervised release   36 months’ supervised release
                                                                    $2000 restitution               $2000 restitution
Barber, Eric      1:21-cr-00228-CRC   40 U.S.C. § 5104(e)(2)(G)     4 months’ incarceration         45 days incarceration
                                      22 D.C. Code 3212             36 months’ probation            24 months’ probation
                                                                    $552.95 restitution             $552.95 restitution
Gold, Simone      1:21-CR-00085-CRC   18 U.S.C. § 1752(a)(1)        3 months’ incarceration         60 days’ incarceration
                                                                    12 month’s supervised release   12 months’ supervised release
                                                                    $500 restitution                $9,500 fine
                                                                    60 hours community service      $500 restitution
Griffin, Cuoy     1:21-CR-00092-TNM   18 U.S.C. § 1752(a)(1)        60 days’ incarceration          14 days’ incarceration
                                                                    12 months’ supervised release   12 months’ supervised release
Stackhouse,       1:21-CR-00240-BAH   40 U.S.C. § 5104(e)(2)(G)     45 days’ incarceration          14 days intermittent incarceration as
Lawrence                                                            36 months’ probation            a condition of 36 months’ probation

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                                                                      $500 restitution                $500 restitution
Baranyi,           1:21-CR-00062-JEB   18 U.S.C. § 1752 (a)(1)        4 months’ incarceration         90 days’ incarceration
Lawrence                                                              12 months’ supervised release   12 months’ year supervised release
                                                                      $500 restitution                $500 restitution
Evans, Derrick     1:21-CR-00337-RCL   18 U.S.C. § 231(a)(3)          3 months’ incarceration         3 months’ incarceration
                                                                      36 months’ supervised release   36 months’ supervised release
                                                                      $2000 restitution               $2000 restitution
                                                                                                      $2000 fine
Lucard, Carson     1:22-CR-00087-BAH   40 U.S.C. § 5104(e)(2)(G)      3 months’ incarceration         21 days’ intermittent confinement as
                                                                      36 months’ probation            a condition of 36 months’ probation
                                                                      $500 restitution                60 days home detention
                                                                                                      $500 restitution
Cunningham,        1:21-CR-00603-RC    40 U.S.C. § 5104(e)(2)(G)      14 days’ incarceration          3 months’ home detention
Christopher                                                           36 months’ probation            12 months’ probation
                                                                      $500 restitution                $1,113 fine
                                                                                                      $500 restitution
Prezlin,           1:21-CR-00694-TNM   40 U.S.C. § 5104(e)(2)(G)      14 days’ incarceration          10 months’ probation
Brandon                                                               36 months’ probation            $2,500 fine
                                                                      $500 restitution                120 hours community service
                                                                                                      $500 restitution
Weisbecker,        1:21-CR-00682-TFH   40 U.S.C. § 5104(e)(2)(G)      60 days’ incarceration          30 days intermittent confinement as
Philip                                                                36 months’ probation            a condition of 24 months’ probation
                                                                      $500 restitution                $2,000 fine
                                                                                                      $500 restitution
Sidorski, Dennis   1:21-CR-00048-ABJ   18 U.S.C. § 1752 (a)(2)        12 months’ incarceration        100 days’ incarceration
                                                                      12 months’ supervised release   12 months’ supervised release
                                                                      $500 restitution                50 hours community service
                                                                                                      $500 restitution
Bromley, Phillip   1:21-CR-00250-PLF   18 U.S.C. 1752(a)(2)           12 months’ incarceration        90 days’ incarceration
                                                                      12 months’ supervised release   12 months’ supervised release
                                                                      $500 restitution                $4,000 fine
                                                                                                      $2,000 restitution
Revlett, Jordan    1:21-CR-00281-JEB   40 U.S.C. § 5104(e)(2)(G)      30 days’ incarceration          14 days’ incarceration
                                                                      36 months’ probation            12 months’ probation
                                                                      $500 restitution                80 hours community service
                                                                                                      $500 restitution

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Snow, Robert      1:22-CR-00030-TJK   40 U.S.C. § 5104(e)(2)(G)      14 days’ incarceration          12 months’ probation
                                                                     36 months’ probation            60 hours community service
                                                                     $500 restitution                $500 restitution
Torre, Benjamin   1:21-CR-00143-RC    40 U.S.C. § 5104(e)(2)(G)      14 days’ incarceration          12 months’ probation
                                                                     36 months’ probation            $1,113 fine
                                                                     $500 restitution                60 hours community service
                                                                                                     $500 restitution
Grace, Jeremey    1:21-CR-00492-JDM   18 U.S.C. § 1752 (a)(1)        60 days’ incarceration          21 days’ incarceration
                                                                     12 months’ supervised release   12 months’ supervised release
                                                                     60 hours community service      60 hours community service
                                                                     $500 restitution                $500 restitution
Getsinger, John   1:21-CR-00607-EGS   40 U.S.C. § 5104(e)(2)(G)      45 days’ incarceration          60 days’ incarceration
                                                                     36 months’ probation            36 months’ probation
                                                                     $500 restitution                100 hours community service
                                                                                                     $500 restitution
Getsinger,        1:21-CR-00607-EGS   40 U.S.C. § 5104(e)(2)(G)      45 days’ incarceration          60 days’ incarceration
Stacie                                                               36 months’ probation            36 months’ probation
                                                                     $500 restitution                100 hours community service
                                                                                                     $500 restitution
Suarez, Marissa   1:21-CR-00205-DLF   40 U.S.C. § 5104(e)(2)(G)      14 days’ incarceration          36 months’ probation
                                                                     36 months’ probation            60 hours community service
                                                                     $500 restitution                $2000 fine
                                                                                                     $500 restitution
Todisco,          1:21-CR-00205-DLF   40 U.S.C. § 5104(e)(2)(G)      14 days’ incarceration          36 months’ probation
Patricia                                                             36 months’ probation            60 hours community service
                                                                     $500 restitution                $2000 fine
                                                                                                     $500 restitution
Blair, David      1:21-CR-00186-CRC   18 U.S.C. § 231(a)(3)          8 months’ incarceration         5 months’ incarceration
                                                                     36 months’ supervised release   18 months’ supervised release
                                                                     $2000 restitution               $2,000 restitution
Griswold,         1:21-CR-00459-CRC   18 U.S.C. § 231(a)(3)          5 months’ incarceration         75 days’ incarceration
Andrew                                                               36 months’ supervised release   24 months’ supervised release
                                                                     $2,000 restitution              $2,000 restitution
Blakely, Kevin    1:21-CR-00356-EGS   40 U.S.C. § 5104(e)(2)(G)      4 months’ incarceration         120 days’ incarceration
                                                                     36 months’ probation            18 months’ probation
                                                                     $500 restitution                100 hours supervised release

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                                                                                                     $500 restitution
Persick, Kerry   1:21-CR-00485-BAH   40 U.S.C. § 5104(e)(2)(G)       14 days’ incarceration          36 months’ probation
                                                                     36 months’ probation            90 days’ supervised release
                                                                     $500 restitution                $5,000 fine
                                                                                                     $500 restitution
Ticas, David     1:21-CR-00601-JDB   40 U.S.C. § 5104(e)(2)(G        36 months’ incarceration        14 days’ incarceration
                                                                     36 months’ probation            24 months’ probation
                                                                     60 hours community serivce      60 hours community service
                                                                     $500 restitution                $500 restitution
Lindsey, Terry   1:21-CR-00162-BAH   18 U.S.C. § 1752(a)(1)          12 months’ incarceration        5 months’ incarceration on the
                                     40 U.S.C. § 5104(e)(2)(D)       12 months’ supervised release   § 5104 counts to be served
                                     40 U.S.C. § 5104(e)(2)(G)       60 hours community service      concurrently
                                                                     $500 restitution                36 months’ probation on the § 1752
                                                                                                     count
                                                                                                     $500 restitution
Mattice, Cody    1:21-CR-00657-BAH   18 U.S.C. § 111(a)(1)           44 months’ incarceration        44 months’ incarceration
                                                                     36 months’ supervised release   36 months’ supervised release
                                                                     $2,000 restitution              $2,000 restitution
Mault, James     1:21-CR-00657-BAH   18 U.S.C. § 111(a)(1)           44 months’ incarceration        44 months’ incarceration
                                                                     36 months’ supervised release   36 months’ supervised release
                                                                     $2,000 restitution              $2,000 restitution
Bancroft, Dawn   1:21-CR-00271-ESG   40 U.S.C. § 5104(e)(2)(G)       60 day’s incarceration          60 day’s incarceration
                                                                     36 months’ probation            36 months’ probation
                                                                     60 hours community service      $500 restitution
                                                                     $500 restitition
Santos-Smith,    1:21-CR-00271-ESG   40 U.S.C. § 5104(e)(2)(G)       14 day’s incarceration          20 day’s incarceration
Diana                                                                36 months’ probation            36 months’ probation
                                                                     60 hours community service      $500 restitution
                                                                     $500 restitition
Buckler,         1:22-CR-00162-TNM   40 U.S.C. § 5104(e)(2)(G)       30 days’ incarceration          14 days’ home detention
Matthew                                                              36 months’ probation            24 months’ probation
                                                                     60 hours community service      60 hours community service
                                                                     $500 restitution                $500 restitution
Romero, Moises   1:21-CR-00677-TSC   18 U.S.C. § 231(a)(3)           11 months’ incarceration        One year and one day incarceration
                                                                     36 months’ supervised release   12 months’ supervised release
                                                                     $2000 restitution               $2,000 restitution

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Ponder, Mark     1:21-CR-00259-TSC   18 U.S.C. § 111(a)(1) and     60 months’ incarceration          63 months’ incarceration
                                     (b)                           36 months’ supervised release     36 months’ supervised release
                                                                   $2000 restitution                 $2000 restitution
                                                                                                     Mental health treatment
Bishai, Elliot   1:21-CR-00282-TSC   18 U.S.C. § 1752(a)(1)        30 days incarceration             14 days incarceration
                                                                   12 months’ supervised release     12 months’ supervised release
                                                                   60 hours community service        60 hours community service
                                                                   $500 restitution                  $500 restitution
Reffitt, Guy     1:21-CR-00032-DLF   18 U.S.C. § 231(a)(2)         180 months’ incarceration         87 months’ incarceration
                                     18 U.S.C. § 1512(c)(2)        3 years supervised release        3 years supervised release
                                     18 U.S.C. § 1752(a)(1)        $2000 restitution                 $2000 restitution
                                     18 U.S.C. § 231(a)(3)
                                     18 U.S.C. § 1512(a)(2)(C)
Caplinger,       1:21-CR-00342-PLF   40 U.S.C. § 5104(d)           90 days incarceration             35 days incarceration
Jeremiah                                                           36 months’ probation              24 months’ probation
                                                                   $500 restitution                  60 hours community service
                                                                                                     $500 restitution
Cavanaugh,       1:21-CR-00362-APM   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration            24 months’ probation
Andrew                                                             36 months’ probation              60 hours community service
                                                                   60 hours community service        $500 restitution
                                                                   $500 restitution
Baggott,         1:21-CR-00411-APM   18 U.S.C. § 1752(a)(2)        middle of sentencing guidelines   3 months’ incarceration
Matthew                                                            range                             12 months’ supervised release
                                                                   12 months’ supervised release     60 hours community service
                                                                   60 hours community service        $500 restitution
                                                                   $500 restitution
Willden, Ricky   1:21-CR-00423-RC    18 U.S.C. § 111(a)(1)         30 months’ incarceration          24 months’ incarceration
                                                                   36 months’ supervised release     36 months’ release
                                                                   $2000 restitution                 $2000 restitution
Hyland, Jason    1:21-CR-00050-CRC   40 U.S.C. § 5104(e)(2)(G)     30 days incarceration             7 days incarceration
                                                                   36 months’ probation              $500 restitution
                                                                   $500 restitution                  $4,000 fine
Ortiz,           1:22-CR-00082-JMC   40 U.S.C. § 5104(e)(2)(G)     5 months’ incarceration           12 months’ probation
Christopher                                                        36 months’ probation              2 months’ Home Detention
                                                                   $500 restitution                  100 hours community service
                                                                                                     $500 Restitution

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Homer, Lisa       1:22-CR-00238-TNM   40 U.S.C. § 5104(e)(2)(G)      30 days incarceration              36 months’ probation
                                                                     36 months’ probation               $5,000 fine
                                                                     60 hours community service         60 hours community service
                                                                     $500 restitution                   $500 restitution
Betancur, Bryan   1:21-CR-00051-TJK   18 U.S.C. § 1752(a)(1)         6 months’ incarceration            4 months’ incarceration
                                                                     12 months’ supervised release      12 months’ supervised release
                                                                     $500 restitution                   $500 restitution
Larocca,          1:21-CR-00317-TSC   18 U.S.C. § 1752(a)(2)         3 months’ incarceration            60 days incarceration
Benjamin                                                             12 months’ supervised release      12 months’ supervised release
                                                                     $500 restitution                   $5,000 fine
                                                                                                        60 hours community service
                                                                                                        $500 restitution
Robertson,        1:21-CR-00034-CRC   18 USC 1512(c)(2) and 2        96 months’ incarceration           87 months’ incarceration
Thomas                                18 USC 231(a)(3) and 2         3 years’ supervised release        36 months’ supervised release
                                      18 USC 1752(a)(1) and          $2,000 restitution                 $2,000 restitution
                                      (b)(1)(A)                      $100 special assessment for each
                                      18 USC 1752(a)(2) and          count of conviction
                                      (b)(1)(A)
                                      40 USC 5104(e)(2)(D)
Simon, Glen       1:21-CR-00346-BAH   18 U.S.C. 1752(a)(2)           10 months’ incarceration           8 months’ incarceration
Mitchell                                                             12 months’ supervised release      12 months’ supervised release
                                                                     60 hours community service         $1,000 fine
                                                                     $500 restitution                   $500 restitution
Cameron, John     1:22-CR-00017-TFH   40 U.S.C. § 5104(e)(2)(G)      30 days’ incarceration             30 days’ imprisonment as an
                                                                     36 months’ probation               intermittent confinement condition
                                                                     60 hours’ community service        of probation
                                                                     $500 restitution                   36 months’ probation
                                                                                                        $1,000 fine
                                                                                                        $500 restitution
Fracker, Jacob    1:21-CR-00034-CRC   18 U.S.C. § 371                6 months’ probation consistent     12 months’ probation
                                                                     with Zone B                        59 days’ home confinement
                                                                     3 years’ supervised release        120 hours community service
                                                                     $100 special assessment            $2,000 restitution
                                                                     $2,000 restitution




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Morrissey,   1:21-CR-00660-RBW   40 U.S.C. § 5104(e)(2)(G)    14 days’ incarceration       45 days’ incarceration
Daniel                                                        36 months’ probation         36 months’ probation
                                                              90 days’ home confinement    $2,500 fine
                                                              60 hours community service   $500 restitution
                                                              $500 restitution
Lazo, Kene   1:21-CR-00425-CRC   40 U.S.C. § 5104(e)(2)(G)    90 days’ incarceration       45 days’ incarceration
                                                              36 months’ probation         $500 restitution
                                                              60 hours community service
                                                              $500 restitution




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                               FEDERAL PUBLIC DEFENDER
                               CENTRAL DISTRICT OF CALIFORNIA
                              411 WEST FOURTH STREET, SUITE 7110
                               SANTA ANA, CALIFORNIA 92701-4598
                                          714-338-4500
                                    714-338-4520 FACSIMILE

CUAUHTEMOC ORTEGA                                                            ANGELA VIRAMONTES
Federal Public Defender                                                          Riverside Branch Chief
AMY M. KARLIN                                                                        KELLEY MUNOZ
Chief Deputy                                                                    Santa Ana Branch Chief
                                                                        K. ELIZABETH DAHLSTROM
                                                                              Chief, Capital Habeas Unit

                                                                              Direct Dial: (714) 338-4500



                                        August 18, 2022

Clerk, U.S. District Court
Attn: Finance
333 Constitution Ave, NW
Washington, DC 20001

        Re:     US v. Lois Lynn McNicoll, Case No. 1:21-CR-00468-PLF

Dear Clerk of the Court:

       Enclosed is check no. 0102 on behalf of defendant Lois McNicoll for $500.00 in which
we are submitting as restitution payment in the above case. We understand the victim in this case
is:

Architect of the Capitol
Office of the Chief Financial Officer
Attn.: Kathy Sherill, CPA
Ford House Office Building, Room H2-205B
Washington, DC 20515

If you have any questions, contact us at 714-338-4500.

                                     Sincerely,




                                     Lillian Chu
                                     Deputy Federal Public Defender
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